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mev. again Case 2:97-cr-20275-BBD Document 58 Fl|ed 06/10/05 Page 1 of 3 Page|D 15

UNITED STATES DISTR]CT COURT
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U.S.A. vs. THOMAS P. KIRACOFE Docket Nos. 2:97CR20283-001

2:97CR2027S-001y /

Petition on Probation and Supervised Release

WESTERN DISTRICT OF TENNESSEE

COMES NOW NICOLE D. PETERSON . PROBATION OFFICER OF THE COURT presenting
an official report upon the conduct and attitude of Thomas P. Kiracofe who was placed on supervision by the
Honorable Bernice B. Donald sitting in the Court at Memp_his, TN , on the 18th day of November , 1998, who
fixed the period of supervision at three §3 1 years , and imposed the generalterms and conditions theretofore adopted
by the Court and also imposed special conditions and terms as follows:

(l) The defendant shall Submit to drug Screens, a drug program, and mental health treatment as directed by the
Probation Ofiice.

RESPECTFULLY PRESENTING PE'I'I'I'I()N F()R ACTION OF COUR'I` FOR CAUSE AS FOLLOWS:

(If short insert herc; ii' lengthy write on separate sheet and attach)

Due to lack of family support and financial hardship, Mr. Kiracofe does not have a viable residence. He has indicated
his Willingness to seek the assistance of the halfway house staff in securing employment and stable residence by his
signature on the Probation Fonn 49 (Waiver of Hearing to Modify the Conditions of Supervised Release).

PRAYING THAT THE COURT WILL ORDER that the conditions of Mr. Kiracofe’s Supervised Release be
modified to include up to one hundred twenty (120) days placement in a halfway house.

 

()RDER OF COURT RESPECTFULLY,
ib ..
Considered and orde;ed this _/Q day WFM
, 2005 , and ordered filed NICOLE D. PETERSON
an ade a part of the records in the above United States Probation OHicer
c

Place: Memnhis` Tennessee

  
 

 

U ted States Date: June 9, 2005

 

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(3/89}

United States District Court

wEsTERN District tennessee

Waiver of Hearing to Modify Conditions
of ProbationlSupervised Release or Extend Term of Supervision

| have been advised and understand that l am entitled by law to a hearing and assistance of
counsel before any unfavorable change may be made in my Conditions of Probation and Supervised
Re|ease or my period of supervision being extended By "assistance of counse|," | understand that |
have the right to be represented at the hearing by counsel of my own choosing if l am able to retain
counse|. l also understand that l have the right to request the court to appoint counsel to represent
me at such a hearing at no cost to myself if | arn not able to retain counsel of my own choosing

| hereby voluntarily waive my statutory right to a hearing and to assistance of counsel | also agree
to the following modification of my Conditions of Probation and Supervlsed Re|ease or to the
proposed extension of my term of supervision:

The defendant shall serve up 120 days community confinement

//

Witness: Z%QQ: Signed: .
NlCOl_E . PETERSON THOMAS P. KIRA OFE .-/'

U. S. Probation Offi er Probationer/Supervise Reieasee

   

 
 
  

   

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. S. Probation

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 58 in
case 2:97-CR-20275 was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

Vivian R. Donelson

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

